           Case 1:19-vv-01053-UNJ Document 34 Filed 10/27/21 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1053V
                                          UNPUBLISHED


    KAREN YAECK,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: September 23, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION 1

        On July 22, 2019, Karen Yaeck filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered she suffered a Table injury – Shoulder Injury
Related to Vaccine Administration (“SIRVA”) – as a result of her October 13, 2017
influneza (“flu”) vaccination. Petition at 1; see Stipulation, filed September 21, 2021, ¶¶
1-2,4. Petitioner further alleges the vaccine was administered within the United States,
that she suffered the residual effects of her injury for more than six months, and that there
has been no prior award or settlement of a civil action on her behalf as a result of her
injury. Stipulation at ¶¶ 3, 4-5; see Petition at ¶¶ 2, 19-21. “Respondent denies that
[P]etitioner sustained a Table SIRVA injury; denies that the vaccine caused [P]etitioner’s
alleged shoulder injuries; or any other injury; and denies that her current condition is a
sequela of a vaccine-related injury.” Stipulation at ¶ 6.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:19-vv-01053-UNJ Document 34 Filed 10/27/21 Page 2 of 7



        Nevertheless, on September 21, 2021, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $100,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                    2
Case 1:19-vv-01053-UNJ Document 34 Filed 10/27/21 Page 3 of 7
Case 1:19-vv-01053-UNJ Document 34 Filed 10/27/21 Page 4 of 7
Case 1:19-vv-01053-UNJ Document 34 Filed 10/27/21 Page 5 of 7
Case 1:19-vv-01053-UNJ Document 34 Filed 10/27/21 Page 6 of 7
Case 1:19-vv-01053-UNJ Document 34 Filed 10/27/21 Page 7 of 7
